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                               EXHIBIT 1
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MUTUAL AGREEMENT TO
MUTUAL AGREEMENT TO INDIVIDUALLY ARBITRATE DISPUTES
                    INDIVIDUALLY ARBITRATE DISPUTES


It is the
It is the Company's
          Company’s goal       to provide
                         goal to   provide you
                                             you (the
                                                  (the "Employee")
                                                        “Employee”) with
                                                                      with aa rewarding
                                                                              rewarding workwork environment.
                                                                                                   environment. Disputes
                                                                                                                   Disputes related
                                                                                                                            related
to work
to  work can
          can arise,
                arise, however,
                       however, and,
                                   and, if
                                         if not
                                            not resolved   informally, can
                                                 resolved informally,  can be
                                                                            be disruptive,
                                                                                disruptive, costly,    and time
                                                                                               costly, and time consuming
                                                                                                                 consuming to to
resolve. Arbitration
resolve.  Arbitration is is an
                            an alternative
                                alternative toto the
                                                 the traditional
                                                     traditional lawsuit and may
                                                                 lawsuit and   may resolve
                                                                                     resolve disputes
                                                                                                disputes more
                                                                                                         more quickly   and with
                                                                                                                quickly and  with
less  cost. In
less cost.  In aa traditional
                  traditional lawsuit,    issues are
                               lawsuit, issues    are resolved
                                                      resolved in  court by
                                                                in court by aa judge
                                                                               judge oror aa jury.
                                                                                             jury. In arbitration, issues
                                                                                                   In arbitration, issues are
                                                                                                                          are
resolved outside
resolved   outside ofof court
                        court byby an
                                    an independent
                                       independent third-party,
                                                       third-party, known  as an
                                                                    known as   an arbitrator.
                                                                                   arbitrator.

MANDATORY    ARBITRATION. THE
MANDATORY ARBITRATION.    THE EMPLOYEE   AND COMPANY
                              EMPLOYEE AND            AGREE THAT
                                             COMPANY AGREE   THAT ANY
                                                                  ANY COVERED
                                                                      COVERED
CLAIM  (DEFINED BELOW),
CLAIM (DEFINED           WHETHER BASED
                BELOW), WHETHER  BASED IN
                                        IN CONTRACT, TORT, STATUTE,
                                           CONTRACT, TORT, STATUTE, COMMON
                                                                    COMMON
LAW, FRAUD,
LAW,        MISREPRESENTATION OR
     FRAUD, MISREPRESENTATION   OR ANY
                                   ANY OTHER
                                       OTHER LEGAL
                                              LEGAL OR
                                                    OR EQUITABLE  THEORY,
                                                       EQUITABLE THEORY,
SHALL BE
SHALL     SUBMITTED TO
       BE SUBMITTED     INDIVIDUAL BINDING
                    TO INDIVIDUAL  BINDING ARBITRATION.
                                           ARBITRATION.

Covered
Covered Claims.
           Claims. Except
                      Except as as explained
                                   explained in in the
                                                   the section
                                                       section "Claims
                                                                “Claims Not Not Covered"
                                                                                Covered” below,
                                                                                             below, this
                                                                                                     this Mutual
                                                                                                          Mutual Agreement
                                                                                                                  Agreement to  to
Individually   Arbitrate Disputes
Individually Arbitrate     Disputes (this
                                       (this "Agreement")
                                             “Agreement”) covers
                                                               covers all
                                                                        all past,
                                                                            past, current,
                                                                                  current, and
                                                                                            and future   grievances, disputes,
                                                                                                 future grievances,   disputes,
claims, issues,
claims,  issues, or
                  or causes
                     causes ofof action
                                  action (collectively,
                                          (collectively, "claims")
                                                           "claims") under
                                                                       under applicable
                                                                              applicable federal,
                                                                                           federal, state
                                                                                                     state or
                                                                                                           or local
                                                                                                              local laws, arising
                                                                                                                    laws, arising
out of
out of or
        or relating  to (a)
           relating to  (a) Employee's      application, hiring,
                             Employee's application,       hiring, hours
                                                                   hours worked,
                                                                           worked, services
                                                                                     services provided,
                                                                                                provided, and/or
                                                                                                            and/or employment
                                                                                                                   employment
with the
with  the Company
          Company or   or the
                          the termination
                               termination thereof,
                                              thereof, and/or
                                                         and/or (b)
                                                                (b) aa Company
                                                                       Company policy
                                                                                   policy or
                                                                                           or practice,
                                                                                               practice, or
                                                                                                          or the
                                                                                                             the Company's
                                                                                                                 Company’s
relationship with
relationship   with or
                     or to
                        to aa customer,
                              customer, vendor,
                                           vendor, oror third
                                                        third party,
                                                              party, including    without limitation
                                                                      including without    limitation claims
                                                                                                        claims Employee    may
                                                                                                                Employee may
have against
have  against the
               the Company
                    Company and/or
                                 and/or any
                                          any Covered
                                               Covered Parties
                                                          Parties (defined
                                                                  (defined below),
                                                                              below), or
                                                                                       or that
                                                                                          that the
                                                                                                the Company
                                                                                                    Company may may have
                                                                                                                      have against
                                                                                                                           against
Employee.
Employee.

The  claims covered
The claims    covered by by this
                              this Agreement
                                   Agreement include,       but are
                                                  include, but    are not
                                                                       not limited
                                                                            limited toto claims   asserted under
                                                                                         claims asserted     under oror relating  to: (i)
                                                                                                                        relating to:  (i)
Title VII of
Title VII  of the
              the Civil
                   Civil Rights
                           Rights ActAct of
                                          of 1964
                                             1964 and
                                                    and similar
                                                         similar state
                                                                    state statutes;
                                                                          statutes; (ii)
                                                                                      (ii) Age
                                                                                           Age Discrimination
                                                                                                 Discrimination in  in Employment
                                                                                                                       Employment Act   Act
and similar
and  similar state
              state statutes;
                     statutes; (iii)
                                 (iii) Fair
                                       Fair Labor
                                             Labor Standards
                                                    Standards Act  Act or
                                                                        or similar
                                                                           similar state
                                                                                     state statutes;
                                                                                            statutes; (iv)
                                                                                                       (iv) Family
                                                                                                            Family andand Medical
                                                                                                                            Medical Leave
                                                                                                                                      Leave
Act or
Act  or similar
        similar state
                  state statutes;
                         statutes; (v)
                                     (v) Americans
                                         Americans withwith Disabilities
                                                             Disabilities Act Act oror similar
                                                                                       similar state
                                                                                                state statutes;
                                                                                                       statutes; (vi)
                                                                                                                  (vi) injuries
                                                                                                                       injuries you
                                                                                                                                 you believe
                                                                                                                                      believe
are attributable
are attributable toto the
                       the Company
                            Company underunder theories
                                                 theories of
                                                           of product
                                                                product liability,    strict liability,
                                                                          liability, strict             intentional wrongdoing,
                                                                                             liability, intentional   wrongdoing, gross
                                                                                                                                      gross
negligence, negligence,
negligence,   negligence, or   or respondeat
                                  respondeat superior;
                                                 superior; (vii)
                                                            (vii) actions
                                                                   actions or or omissions
                                                                                 omissions of  of third
                                                                                                  third parties
                                                                                                         parties you
                                                                                                                  you attribute
                                                                                                                       attribute to
                                                                                                                                  to the
                                                                                                                                     the
Company; (viii)
Company;     (viii) claims
                     claims brought
                               brought pursuant
                                         pursuant toto actual
                                                       actual or or alleged
                                                                    alleged exceptions
                                                                               exceptions to to the
                                                                                                the exclusive
                                                                                                     exclusive remedy       provisions of
                                                                                                                 remedy provisions       of
state workers
state workers compensation
                 compensation laws;         (ix) Consolidated
                                     laws; (ix)  Consolidated Omnibus
                                                                   Omnibus Budget
                                                                                Budget Reconciliation
                                                                                          Reconciliation Act Act of
                                                                                                                  of 1985;
                                                                                                                     1985; (v)
                                                                                                                             (v) federal
                                                                                                                                 federal
and state
and  state antitrust
           antitrust law;
                       law; (xi)
                              (xi) issues
                                   issues regarding
                                           regarding benefits,
                                                       benefits, bonuses,
                                                                     bonuses, wages,
                                                                                wages, penalties,
                                                                                          penalties, co-employment,
                                                                                                      co-employment, or     or joint
                                                                                                                               joint
employment;
employment; (xii)(xii) contracts
                        contracts between
                                    between youyou and
                                                     and the
                                                          the Company;
                                                               Company; (xiii)(xiii) personal
                                                                                     personal or or emotional
                                                                                                    emotional injury
                                                                                                                 injury toto you
                                                                                                                             you or
                                                                                                                                  or your
                                                                                                                                     your
family;  (xiv) federal,
family; (xiv)   federal, state,
                            state, local,  or municipal
                                   local, or  municipal regulations,        ordinances, or
                                                           regulations, ordinances,        or orders;
                                                                                               orders; (xv)
                                                                                                        (xv) any
                                                                                                              any common
                                                                                                                   common law,       or
                                                                                                                               law, or
statutory law
statutory  law issues
                issues relating
                          relating toto discrimination
                                        discrimination by by sex,
                                                               sex, race,
                                                                     race, age,
                                                                            age, national
                                                                                  national origin,
                                                                                             origin, sexual
                                                                                                      sexual orientation,
                                                                                                               orientation, family
                                                                                                                              family or
                                                                                                                                      or
marital status,
marital  status, disability,
                  disability, medical
                                medical condition,
                                           condition, weight,
                                                        weight, dress,
                                                                   dress, or
                                                                           or religion
                                                                               religion oror other
                                                                                             other characteristic    protected by
                                                                                                    characteristic protected      by
applicable law;
applicable          (xvi) wrongful
             law; (xvi)    wrongful retaliation
                                        retaliation of
                                                     of any
                                                        any type,
                                                              type, including
                                                                      including retaliation
                                                                                   retaliation related
                                                                                                related toto workers'
                                                                                                             workers’ compensation
                                                                                                                         compensation
laws  or employee
laws or  employee injury
                       injury benefit
                                benefit plan
                                         plan actionable
                                               actionable at at law
                                                                 law oror equity;
                                                                          equity; and
                                                                                    and (xvii)
                                                                                         (xvii) misappropriation
                                                                                                 misappropriation of   of confidential
                                                                                                                           confidential
information
information or or other
                   other acts
                           acts or
                                or omissions
                                    omissions by by you.
                                                     you.

Without limiting
Without  limiting the
                  the above,
                      above, the
                             the Employee   and the
                                  Employee and   the Company
                                                     Company each
                                                                each specifically
                                                                      specifically acknowledges
                                                                                   acknowledges and
                                                                                                 and agrees
                                                                                                     agrees that
                                                                                                            that all
                                                                                                                 all
claims involving
claims            minimum wages,
       involving minimum     wages, overtime,
                                     overtime, unpaid
                                               unpaid wages,
                                                       wages, expense
                                                               expense reimbursement,    wage statements,
                                                                         reimbursement, wage   statements, and
                                                                                                           and
claims involving
claims            meal and
       involving meal   and rest
                            rest breaks
                                 breaks shall
                                        shall be
                                              be subject
                                                 subject to
                                                         to arbitration
                                                            arbitration under
                                                                        under this
                                                                               this Agreement.
                                                                                    Agreement.

The
The Employee
     Employee andand the
                     the Company
                         Company eacheach specifically
                                            specifically acknowledges
                                                          acknowledges and
                                                                         and agrees
                                                                             agrees that
                                                                                     that any
                                                                                          any claims
                                                                                               claims brought
                                                                                                       brought by
                                                                                                               by the
                                                                                                                    the
Employee    against any
Employee against    any of
                         of the
                            the Covered
                                 Covered Parties,
                                           Parties, whether
                                                    whether brought
                                                              brought jointly
                                                                      jointly or
                                                                              or severally
                                                                                 severally with
                                                                                            with claims  against the
                                                                                                  claims against the
Company, shall
Company,    shall be
                  be subject
                     subject to
                              to arbitration
                                 arbitration under
                                              under this
                                                     this Agreement.
                                                          Agreement. "Covered
                                                                      “Covered Parties"
                                                                                 Parties” means
                                                                                           means the
                                                                                                   the Company,
                                                                                                       Company, anyany
entity formerly or
entity formerly  or currently
                    currently owned,
                                owned, affiliated,
                                        affiliated, controlled  or operated
                                                    controlled or  operated by
                                                                            by the
                                                                               the Company
                                                                                    Company (a (a "company
                                                                                                   “company entity"),
                                                                                                              entity”),
clients of
clients of the
           the Company
               Company or or aa company
                                company entity,
                                           entity, and
                                                   and the
                                                        the former
                                                            former and
                                                                   and current
                                                                       current officers,
                                                                                officers, directors,
                                                                                          directors, managers,
                                                                                                     managers,
employees,   owners, attorneys,
employees, owners,    attorneys, agents,
                                  agents, and
                                           and vendors
                                                vendors ofof the
                                                             the Company
                                                                 Company and/or
                                                                           and/or aa company
                                                                                     company entity
                                                                                                entity and/or
                                                                                                       and/or clients  of the
                                                                                                              clients of  the
Company.
Company.

Claims Not Covered.
Claims Not          This Agreement
           Covered. This    Agreement does
                                      does not
                                            not apply
                                                apply to:
                                                      to: (i)
                                                          (i) claims
                                                              claims for
                                                                     for workers'
                                                                         workers' compensation
                                                                                   compensation oror
unemployment benefits;
unemployment benefits; (ii)
                       (ii) claims
                            claims expressly precluded from
                                   expressly precluded         being arbitrated
                                                        from being   arbitrated by
                                                                                by aa governing
                                                                                      governing federal
                                                                                                federal statute;
                                                                                                        statute; (iii)
                                                                                                                 (iii)
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claims that,
claims that, under
              under applicable
                      applicable state
                                    state law
                                           law that
                                                that is
                                                     is not
                                                        not preempted
                                                             preempted by by the
                                                                              the Federal
                                                                                   Federal Arbitration
                                                                                             Arbitration Act,
                                                                                                           Act, the
                                                                                                                the parties
                                                                                                                     parties cannot
                                                                                                                             cannot
agree to
agree to arbitrate;
         arbitrate; (iv)
                      (iv) claims   that must
                           claims that    must bebe brought
                                                    brought before
                                                              before the
                                                                      the National
                                                                           National Labor      Relations Board
                                                                                       Labor Relations     Board ("NLRB");
                                                                                                                   (“NLRB”); (v) (v)
claims for
claims     any relief
       for any   relief asserted
                         asserted under
                                    under oror governed
                                               governed by by the
                                                               the Employee      Retirement Income
                                                                   Employee Retirement         Income Security      Act of
                                                                                                         Security Act    of 1974
                                                                                                                            1974
(“ERISA”) (the
("ERISA")    (the resolution
                   resolution ofof ERISA      claims will
                                    ERISA claims       will be
                                                            be governed
                                                                governed byby the
                                                                                the terms
                                                                                     terms of
                                                                                            of the
                                                                                               the applicable
                                                                                                    applicable plan
                                                                                                                plan and/or
                                                                                                                       and/or
applicable law);
applicable          (vi) actions
           law); (vi)    actions toto confirm,
                                      confirm, vacate,
                                                  vacate, modify,
                                                           modify, or
                                                                    or correct
                                                                        correct anan arbitrator's
                                                                                      arbitrator’s award;
                                                                                                    award; (vii)
                                                                                                            (vii) sexual
                                                                                                                  sexual harassment
                                                                                                                          harassment
or sexual
or sexual assault
          assault claims,
                     claims, except
                              except ifif the
                                          the Employee      chooses to
                                               Employee chooses      to submit
                                                                         submit them
                                                                                   them toto arbitration
                                                                                             arbitration under
                                                                                                          under the
                                                                                                                 the terms
                                                                                                                      terms of
                                                                                                                             of this
                                                                                                                                this
Agreement; and
Agreement;    and (viii)
                    (viii) nothing
                           nothing in   this Agreement
                                     in this  Agreement prohibits
                                                            prohibits the
                                                                       the filing
                                                                            filing any
                                                                                    any claim
                                                                                         claim or
                                                                                                or charge   with aa government
                                                                                                    charge with     government
administrative agency
administrative   agency (for
                           (for example,
                                example, the the Equal
                                                  Equal Employment        Opportunity Commission,
                                                         Employment Opportunity            Commission, NLRB,
                                                                                                           NLRB, Securities     and
                                                                                                                    Securities and
Exchange   Commission, or
Exchange Commission,         or aa similar
                                   similar state
                                             state regulatory   agency). To
                                                   regulatory agency).          the extent
                                                                           To the    extent such
                                                                                             such aa claim
                                                                                                     claim is
                                                                                                            is not
                                                                                                               not resolved
                                                                                                                   resolved before
                                                                                                                              before
the agency,
the agency, it  is subject
             it is subject to
                            to arbitration
                               arbitration under
                                              under this
                                                      this Agreement
                                                           Agreement rather
                                                                         rather than
                                                                                  than proceeding
                                                                                        proceeding in in court.
                                                                                                         court.

Waiver of
Waiver    of Class,
             Class, Collective,
                      Collective, Consolidated
                                    Consolidated and and Representative
                                                          Representative Action
                                                                             Action Claims.
                                                                                     Claims. Each
                                                                                                Each ofof the
                                                                                                          the Employee
                                                                                                               Employee and and the
                                                                                                                                 the
Company     expressly   intends   and  agrees, to the  absolute  maximum     extent  permitted   by  law,  that:
Company expressly intends and agrees, to the absolute maximum extent permitted by law, that: (a) class action,   (a) class  action,
collective action,
collective  action, or
                     or consolidated
                        consolidated action
                                        action procedures
                                                procedures are
                                                             are hereby
                                                                 hereby waived
                                                                          waived and
                                                                                   and shall
                                                                                       shall not
                                                                                              not be
                                                                                                  be asserted
                                                                                                      asserted inin arbitration
                                                                                                                    arbitration oror
in court, nor
in court, nor will
               will they
                     they apply
                           apply in  any arbitration
                                  in any  arbitration pursuant
                                                       pursuant to
                                                                 to this
                                                                    this Agreement;
                                                                          Agreement; (b)
                                                                                       (b) representative     action procedures
                                                                                           representative action      procedures
are hereby
are hereby waived
             waived andand shall
                            shall not
                                  not be
                                      be asserted
                                          asserted in
                                                    in arbitration
                                                       arbitration or
                                                                    or in
                                                                       in court, nor will
                                                                          court, nor will they
                                                                                          they apply
                                                                                                apply inin any
                                                                                                            any arbitration
                                                                                                                 arbitration
pursuant to
pursuant   to this
              this Agreement;
                   Agreement; (c) (c) each
                                      each will
                                            will not  assert class
                                                 not assert  class action,
                                                                   action, collective
                                                                            collective action,
                                                                                       action, consolidated
                                                                                                consolidated action
                                                                                                                 action or
                                                                                                                         or
representative action
representative    action claims
                          claims against
                                  against the
                                           the other
                                               other in
                                                      in arbitration
                                                         arbitration or
                                                                      or court or otherwise;
                                                                         court or otherwise; and
                                                                                               and (d)   the Employee
                                                                                                    (d) the   Employee andand the
                                                                                                                                the
Company shall
Company     shall only
                   only submit
                         submit their
                                 their own,
                                        own, individual
                                              individual claims
                                                           claims in
                                                                   in arbitration
                                                                      arbitration and
                                                                                  and will
                                                                                       will not
                                                                                            not seek
                                                                                                 seek to
                                                                                                       to represent
                                                                                                           represent the
                                                                                                                       the interests
                                                                                                                           interests
of any
of any other
        other person.
               person. No
                        No arbitrator
                             arbitrator selected
                                         selected to
                                                  to arbitrate
                                                      arbitrate any
                                                                any claim
                                                                     claim covered   by this
                                                                            covered by   this Agreement
                                                                                              Agreement is   is authorized
                                                                                                                authorized toto
arbitrate any   claim  on  a class, collective,  consolidated,   or representative
arbitrate any claim on a class, collective, consolidated, or representative basis.  basis.

In the event
In the        the waiver
       event the  waiver of
                         of representative   actions is
                             representative actions      found to
                                                      is found to be
                                                                   be unenforceable
                                                                      unenforceable in in whole
                                                                                          whole or
                                                                                                 or in part, then
                                                                                                    in part, then the
                                                                                                                   the
representative action
representative  action will
                       will be
                            be heard
                                heard in
                                      in court,
                                         court, not
                                                not arbitration,
                                                     arbitration, as
                                                                  as to
                                                                     to the
                                                                        the portion
                                                                            portion of
                                                                                     of the
                                                                                         the representative
                                                                                             representative claim
                                                                                                             claim to
                                                                                                                    to which
                                                                                                                       which
the waiver
the waiver is
            is found to be
               found to be unenforceable
                            unenforceable and
                                            and all
                                                 all other
                                                     other Covered
                                                           Covered Claims
                                                                     Claims will
                                                                              will remain
                                                                                   remain subject
                                                                                            subject to
                                                                                                    to arbitration.
                                                                                                       arbitration. In
                                                                                                                     In that
                                                                                                                        that
event, the representative
event, the representative claim   in court
                           claim in        shall be
                                     court shall be stayed
                                                     stayed until
                                                             until the
                                                                   the arbitration
                                                                       arbitration is
                                                                                   is concluded,
                                                                                      concluded, unless
                                                                                                   unless such
                                                                                                          such stay
                                                                                                                 stay is
                                                                                                                      is
contrary to
contrary to applicable
             applicable law.
                        law.

Notwithstanding any
Notwithstanding    any provision
                        provision in  the applicable
                                   in the applicable arbitration
                                                      arbitration rules,
                                                                  rules, aa court
                                                                            court of
                                                                                  of law  must resolve
                                                                                      law must  resolve any
                                                                                                         any dispute
                                                                                                             dispute
concerning the
concerning  the validity
                 validity and
                          and enforceability
                               enforceability of
                                               of the
                                                  the Agreement,
                                                      Agreement, andand the
                                                                         the validity,
                                                                              validity, enforceability or interpretation
                                                                                        enforceability or interpretation of
                                                                                                                         of
the provisions  pertaining  to class, collective, and  representative  action  waivers.   The arbitrator must  resolve
the provisions pertaining to class, collective, and representative action waivers. The arbitrator must resolve all     all
other disputes,
other disputes, including
                including the
                           the arbitrability
                                arbitrability of
                                              of claims  pursuant to
                                                 claims pursuant   to such
                                                                      such other
                                                                             other provisions.
                                                                                   provisions.

Neutral Arbitrator.
Neutral   Arbitrator. TheThe arbitration
                              arbitration will
                                          will be
                                               be administered
                                                   administered by by an
                                                                       an independent
                                                                          independent andand neutral
                                                                                             neutral arbitrator
                                                                                                      arbitrator from     the
                                                                                                                   from the
American Arbitration
American   Arbitration Association
                          Association ("AAA")
                                        (“AAA”) in in accordance
                                                      accordance with
                                                                    with the
                                                                          the AAA
                                                                               AAA Employment        Arbitration Rules
                                                                                     Employment Arbitration         Rules and
                                                                                                                            and
Mediation procedures
Mediation   procedures ("AAA
                           (“AAA Rules")
                                   Rules”) available
                                             available online
                                                        online at
                                                                at www.adr.org/employment
                                                                   www.adr.org/employment (or    (or to
                                                                                                     to be
                                                                                                         be provided
                                                                                                              provided upon
                                                                                                                         upon
request). If,
request).      however, the
          If, however,    the AAA
                              AAA Rules
                                     Rules are
                                            are inconsistent   with the
                                                inconsistent with    the terms
                                                                         terms of
                                                                                of this
                                                                                   this Agreement,
                                                                                        Agreement, thethe terms
                                                                                                            terms of
                                                                                                                  of this
                                                                                                                      this
Agreement shall
Agreement     shall govern.
                    govern. The
                              The arbitrator
                                  arbitrator has
                                              has no
                                                  no relationship    with the
                                                      relationship with    the Company
                                                                               Company and,and, just
                                                                                                just as
                                                                                                     as aa judge
                                                                                                           judge in
                                                                                                                  in aa lawsuit
                                                                                                                        lawsuit
would, provides
would,  provides an an impartial
                       impartial resolution
                                  resolution to
                                              to the
                                                 the dispute.  The arbitrator
                                                     dispute. The    arbitrator will
                                                                                will be
                                                                                     be selected
                                                                                         selected by
                                                                                                  by mutual
                                                                                                      mutual agreement
                                                                                                                agreement of  of the
                                                                                                                                 the
parties from   a list of arbitrators provided  by  the AAA.
parties from a list of arbitrators provided by the AAA. If for If for any
                                                                      any   reason
                                                                            reason the
                                                                                   the  AAA
                                                                                        AAA   will
                                                                                              will not
                                                                                                   not  administer
                                                                                                        administer     the
                                                                                                                       the
arbitration, the
arbitration,  the party
                  party seeking
                         seeking arbitration
                                  arbitration may
                                               may initiate
                                                    initiate the
                                                             the arbitration
                                                                  arbitration with
                                                                               with JAMS    (www.jamsadr.com) or
                                                                                    JAMS (www.jamsadr.com)           or other
                                                                                                                         other
recognized arbitration
recognized   arbitration services
                           services provider.
                                     provider.

Claims
Claims Procedure.
         Procedure. A A demand
                         demand for
                                  for arbitration
                                      arbitration must
                                                  must bebe in
                                                            in writing
                                                               writing and
                                                                        and filed
                                                                             filed with
                                                                                   with AAA.
                                                                                         AAA. Written
                                                                                                 Written notice
                                                                                                          notice of
                                                                                                                  of any
                                                                                                                     any
Company claim
Company    claim will
                  will be
                       be delivered
                          delivered by
                                     by certified
                                        certified or
                                                   or registered  mail, return
                                                      registered mail,  return receipt
                                                                                receipt requested,
                                                                                         requested, to
                                                                                                     to the
                                                                                                        the last
                                                                                                            last known
                                                                                                                 known
address of
address  of Employee.
            Employee. The
                        The written
                             written notice  shall identify
                                     notice shall  identify and
                                                             and describe
                                                                  describe the
                                                                           the nature
                                                                                nature of
                                                                                        of all
                                                                                           all claims  asserted and
                                                                                               claims asserted   and the
                                                                                                                      the facts
                                                                                                                          facts
upon which
upon  which such
             such claims
                   claims are
                           are based.
                               based. Written
                                      Written notice
                                                notice of
                                                        of arbitration
                                                           arbitration shall
                                                                       shall be
                                                                             be initiated
                                                                                 initiated within
                                                                                           within the
                                                                                                   the same
                                                                                                       same time
                                                                                                              time
limitations that federal
limitations that         or state
                 federal or state law
                                  law applies
                                      applies to
                                               to those
                                                  those claim(s).
                                                         claim(s).

Arbitration Fees
Arbitration         and Costs.
              Fees and            The Employee
                         Costs. The     Employee will
                                                    will pay
                                                         pay $200    towards any
                                                              $200 towards     any arbitration
                                                                                      arbitration filing
                                                                                                  filing fee,
                                                                                                         fee, and
                                                                                                              and the
                                                                                                                   the Company
                                                                                                                        Company
will pay
will pay all
         all other
             other arbitration
                   arbitration filing
                                filing fees
                                        fees as
                                              as well
                                                 well as
                                                      as the
                                                         the arbitrator's
                                                             arbitrator’s fees.
                                                                            fees. If  any party
                                                                                   If any  party prevails
                                                                                                 prevails on
                                                                                                           on aa statutory
                                                                                                                 statutory claim
                                                                                                                           claim
that affords
that affords the
             the prevailing
                 prevailing party
                             party attorneys'
                                     attorneys' fees
                                                 fees and
                                                      and costs,
                                                           costs, or
                                                                  or if
                                                                      if there
                                                                         there is
                                                                               is aa written
                                                                                     written agreement
                                                                                              agreement providing
                                                                                                          providing forfor
attorneys' fees
attorneys'      and costs,
           fees and  costs, the
                            the party
                                party can
                                        can recover
                                             recover attorneys'
                                                      attorneys’ fees    and costs
                                                                  fees and    costs to
                                                                                     to the
                                                                                        the same
                                                                                            same extent
                                                                                                   extent as
                                                                                                           as if
                                                                                                              if the
                                                                                                                 the claim had
                                                                                                                     claim had
been brought
been  brought in  court. Any
               in court. Any dispute
                              dispute as as to
                                            to the
                                               the reasonableness
                                                   reasonableness of of any
                                                                         any fee   or cost
                                                                              fee or   cost shall
                                                                                            shall be
                                                                                                  be resolved
                                                                                                      resolved byby the
                                                                                                                    the arbitrator.
                                                                                                                        arbitrator.
  Case 1:21-cv-22609-MGC Document 23-1 Entered on FLSD Docket 08/30/2021 Page 4 of 4
Applicable Law
Applicable Law and
               and Effect of Decisions.
                   Effect of Decisions.

    • Interpretation
      Interpretation andand Enforcement
                             Enforcement of   of the
                                                 the Agreement:
                                                      Agreement: The        Federal Arbitration
                                                                      The Federal     Arbitration ActAct ("FAA")
                                                                                                          (“FAA”) andand federal
                                                                                                                          federal
      common law
      common     law applicable
                       applicable to to arbitration
                                        arbitration shall
                                                     shall govern
                                                             govern the
                                                                      the interpretation
                                                                           interpretation andand enforcement
                                                                                                  enforcement of  of this
                                                                                                                     this Agreement.
                                                                                                                          Agreement.
      If, for any reason, the FAA or federal
      If, for any  reason,  the  FAA     or          common law
                                            federal common       law isis found   not to
                                                                          found not    to apply
                                                                                          apply to
                                                                                                 to this
                                                                                                     this Agreement
                                                                                                          Agreement (or (or its
                                                                                                                             its
      agreement to
      agreement    to arbitrate),
                       arbitrate), then
                                    then applicable
                                          applicable state
                                                        state law   shall govern.
                                                              law shall    govern.
      Pre-hearing Motions:
    • Pre-hearing    Motions: Only
                                 Only claims
                                         claims that
                                                 that are
                                                       are recognized
                                                            recognized under
                                                                           under existing
                                                                                   existing law
                                                                                             law may
                                                                                                  may be be heard
                                                                                                            heard by
                                                                                                                   by the
                                                                                                                       the arbitrator.
                                                                                                                            arbitrator.
      Any party
      Any   party to
                   to the
                      the arbitration
                           arbitration shall
                                         shall have
                                                have the
                                                      the right
                                                           right to
                                                                  to file
                                                                     file aa motion
                                                                             motion toto dismiss    and/or aa motion
                                                                                          dismiss and/or      motion for
                                                                                                                       for summary
                                                                                                                            summary
      judgment, which
      judgment,    which the
                           the arbitrator
                                arbitrator shall
                                             shall decide
                                                   decide by by application
                                                                application of  of the
                                                                                   the standards
                                                                                        standards under
                                                                                                    under the
                                                                                                            the Federal
                                                                                                                Federal Rules
                                                                                                                          Rules ofof
      Civil Procedure
      Civil  Procedure governing
                          governing suchsuch motions.
                                              motions.
    • Substantive
      Substantive Law:
                     Law: The     arbitrator shall
                            The arbitrator     shall apply
                                                     apply the
                                                             the substantive
                                                                  substantive state
                                                                                 state or
                                                                                        or federal
                                                                                           federal law    (and the
                                                                                                     law (and  the law
                                                                                                                    law of
                                                                                                                         of remedies,
                                                                                                                             remedies, ifif
      applicable) applicable
      applicable)   applicable to to the
                                      the claim(s)
                                          claim(s) asserted.
                                                     asserted.
      Written Decisions
    • Written   Decisions andand Awards:
                                  Awards: The      arbitrator shall
                                              The arbitrator   shall render
                                                                       render aa written
                                                                                  written decision
                                                                                            decision explaining     his or
                                                                                                       explaining his   or her
                                                                                                                            her findings
                                                                                                                                 findings
      and conclusions.
      and  conclusions. The      arbitrator's decision
                           The arbitrator's     decision shall
                                                           shall be
                                                                 be final    and binding
                                                                     final and    binding upon
                                                                                            upon the
                                                                                                   the parties
                                                                                                       parties to
                                                                                                                to the
                                                                                                                   the arbitration,
                                                                                                                       arbitration,
      subject only
      subject   only to
                     to review    under the
                         review under      the FAA
                                               FAA (or
                                                     (or applicable
                                                          applicable state
                                                                         state law).
                                                                               law).
      No Preclusive
    • No   Preclusive Effect:
                        Effect: The     arbitrator’s decisions
                                 The arbitrator's     decisions andand awards
                                                                        awards shall
                                                                                  shall have
                                                                                         have no
                                                                                               no preclusive
                                                                                                   preclusive effect
                                                                                                                effect as
                                                                                                                        as to
                                                                                                                           to issues
                                                                                                                               issues or
                                                                                                                                      or
      claims in
      claims      any other
               in any  other arbitration
                              arbitration or or court
                                                court proceeding,
                                                       proceeding, unless
                                                                       unless all
                                                                                all of
                                                                                    of the
                                                                                       the parties
                                                                                            parties in
                                                                                                     in the
                                                                                                        the other
                                                                                                            other proceeding
                                                                                                                   proceeding werewere
      also aa named
      also    named party
                       party in  the arbitration
                              in the   arbitration in
                                                   in which
                                                       which the
                                                               the award
                                                                    award or  or decision
                                                                                 decision was
                                                                                            was issued.
                                                                                                 issued.

Severability. If
Severability.     any provision
               If any  provision of
                                  of this
                                      this Agreement
                                            Agreement to to arbitrate
                                                            arbitrate is
                                                                       is adjudged
                                                                           adjudged to
                                                                                     to be
                                                                                        be void
                                                                                           void or
                                                                                                 or otherwise
                                                                                                     otherwise unenforceable,
                                                                                                                  unenforceable,
in whole or
in whole  or in
             in part,
                part, the
                      the void
                          void or
                                or unenforceable
                                   unenforceable provision
                                                     provision shall
                                                                 shall be
                                                                        be severed
                                                                            severed and
                                                                                    and such
                                                                                         such adjudication
                                                                                                adjudication shall
                                                                                                                shall not
                                                                                                                      not affect
                                                                                                                          affect
the validity
the validity of
             of the
                the remainder
                    remainder of of this
                                    this Agreement
                                          Agreement to to arbitrate.
                                                          arbitrate. The    only exception
                                                                     The only    exception is   that this
                                                                                             is that this Agreement
                                                                                                          Agreement is  is not,
                                                                                                                           not, and
                                                                                                                                and
shall never
shall never be
             be construed
                construed as,
                            as, reformed
                                reformed to to be,
                                               be, or
                                                   or enforced
                                                      enforced asas if
                                                                    if it  were, an
                                                                        it were, an agreement
                                                                                    agreement to to arbitrate
                                                                                                    arbitrate claims
                                                                                                                claims on
                                                                                                                       on aa class,
                                                                                                                             class,
collective, consolidated,
collective, consolidated, oror representative
                               representative basis.
                                                 basis. Stated  differently, under
                                                        Stated differently,    under no
                                                                                      no circumstance
                                                                                         circumstance willwill aa claim
                                                                                                                  claim be
                                                                                                                        be
allowed to
allowed  to proceed
            proceed in   arbitration as
                      in arbitration  as aa class action, collective
                                            class action,              action, consolidated
                                                           collective action,                  action, or
                                                                                consolidated action,    or representative
                                                                                                           representative action.
                                                                                                                            action.

Waiver of
Waiver  of Trial
           Trial by Jury. Each
                 by Jury. Each ofof the
                                    the Employee   and the
                                        Employee and    the Company
                                                            Company understands      and fully
                                                                       understands and   fully agrees  that by
                                                                                               agrees that   by
entering into
entering into this
              this Agreement
                   Agreement to to arbitrate,
                                   arbitrate, each agrees to
                                              each agrees to resolve
                                                             resolve all claims through
                                                                     all claims through arbitration
                                                                                         arbitration and    is
                                                                                                       and is
giving up
giving    the right
       up the       to have
              right to have a  trial by
                             a trial by jury  and the
                                        jury and  the right of appeal
                                                      right of appeal following  the rendering
                                                                      following the             of aa decision
                                                                                     rendering of     decision
except on the
except on the grounds
              grounds for
                        for reviewing
                            reviewing an   arbitration award
                                        an arbitration  award under   the Federal
                                                               under the           Arbitration Act
                                                                          Federal Arbitration   Act ("FAA")
                                                                                                     (“FAA”) oror
applicable state law.
applicable state law.

Term of Agreement.
Term of Agreement. This
                   This Agreement
                        Agreement to
                                  to arbitrate
                                     arbitrate shall
                                               shall survive
                                                     survive the
                                                             the termination
                                                                 termination of
                                                                             of Employee's
                                                                                Employee's employment.
                                                                                           employment.

Entire   Agreement. This
Entire Agreement.         Agreement constitutes
                     This Agreement               the entire
                                      constitutes the        agreement between
                                                      entire agreement   between the
                                                                                   the Company
                                                                                       Company andand Employee
                                                                                                      Employee
regarding the
regarding  the subject
               subject matter
                       matter herein
                              herein and
                                     and supersedes
                                         supersedes any
                                                     any and
                                                         and all
                                                              all prior
                                                                  prior agreements
                                                                        agreements and
                                                                                     and understandings
                                                                                          understandings regarding
                                                                                                         regarding
the subject
the subject matter.
            matter. This
                    This Agreement
                         Agreement cannot
                                     cannot be
                                            be amended
                                               amended or or modified
                                                             modified except
                                                                        except by
                                                                               by aa written
                                                                                     written agreement
                                                                                             agreement between
                                                                                                       between the
                                                                                                                the
parties.
parties.

Employee    Acknowledgment. II understand
Employee Acknowledgment.          understand that
                                               that by
                                                     by clicking on the
                                                        clicking on the "I
                                                                        “I Agree
                                                                           Agree and
                                                                                  and Accept"
                                                                                        Accept” Button
                                                                                                 Button below
                                                                                                        below that
                                                                                                               that II
agree to
agree to the
         the terms
             terms of,
                   of, and
                       and agree
                           agree to
                                 to be
                                    be bound
                                        bound by,
                                                by, this
                                                    this Agreement.
                                                         Agreement. II further agree and
                                                                       further agree   and acknowledge
                                                                                           acknowledge that
                                                                                                         that my
                                                                                                              my
acceptance of
acceptance  of or
               or continuing
                  continuing employment
                              employment with
                                            with the
                                                  the Company
                                                      Company provides
                                                                 provides further
                                                                           further evidence   of my
                                                                                    evidence of  my agreement
                                                                                                     agreement to
                                                                                                                to
accept and
accept and be
            be bound
               bound by
                      by the
                         the terms
                             terms of
                                    of this
                                       this Agreement.
                                            Agreement. II understand
                                                            understand that
                                                                       that this
                                                                            this Agreement
                                                                                 Agreement will
                                                                                              will remain in effect
                                                                                                   remain in effect after
                                                                                                                    after
my employment
my  employment ends    and that
                  ends and that nothing
                                nothing in
                                         in this
                                            this Agreement
                                                 Agreement modifies
                                                              modifies the
                                                                        the at-will
                                                                            at-will nature
                                                                                     nature of
                                                                                            of my
                                                                                               my employment.
                                                                                                   employment.
